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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                               Case No.:

  DAVID MURR and SARAH ELIZABETH
  MURR,

                 Plaintiffs,

         v.

  ROBERT RIVERA, individually,
  ANDREW CARDARELLI, individually,
  and SCOTT J. ISRAEL, as SHERIFF of
  BROWARD COUNTY, Florida,

                 Defendants.
                                                 /

                                            COMPLAINT

         1.      This is a civil action seeking money damages in excess of $15,000 dollars, exclusive

  of costs, interest, and attorneys’ fees, against Defendant ROBERT RIVERA, individually,

  ANDREW CARDARELLI, individually, and SCOTT J. ISRAEL, as SHERIFF of BROWARD

  COUNTY, Florida.

         2.      This action is brought pursuant to 42 U.S.C. § 1983 and § 1988, and the Fourth and

  Fourteenth Amendments to the United States Constitution. The United States District Court for the

  Southern District of Florida has jurisdiction of this action under 42 U.S.C. § 1983, 28 U.S.C. § 1331,

  and 28 U.S.C. § 1343. Plaintiffs further invoke the supplemental jurisdiction of the United States

  District Court to hear pendant State tort claims arising under State law, pursuant to 28 U.S.C. §

  1367(a).

         3.      On or before December 5, 2015, Plaintiff DAVID MURR and Plaintiff SARAH

  ELIZABETH MURR served notice of claim upon Defendant SCOTT J. ISRAEL, as SHERIFF of
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  BROWARD COUNTY, Florida, and Jeff Atwater, as Chief Financial Officer, Florida Department

  of Financial Services, pursuant to §768.28 of the Florida Statutes, and have otherwise complied with

  all conditions precedent to the filing of this action under the laws of the state of Florida.

                                               PARTIES

         4.      Plaintiff DAVID MURR is a resident of the state of Ohio.

         5.      Plaintiff SARAH ELIZABETH MURR is a resident of Broward County, state of

  Florida.

         6.      At all times referred to herein, Defendant ROBERT RIVERA [hereinafter Defendant

  RIVERA] was acting under color of law as a deputy sheriff for SCOTT J. ISRAEL, as SHERIFF of

  BROWARD COUNTY, Florida, and in such capacity as an agent, servant, and employee of SCOTT

  J. ISRAEL, as SHERIFF of BROWARD COUNTY, Florida.

         7.      At all times referred to herein, Defendant ANDREW CARDARELLI [hereinafter

  Defendant CARDARELLI] was acting under color of law as a deputy sheriff for SCOTT J. ISRAEL,

  as SHERIFF of BROWARD COUNTY, Florida, and in such capacity as an agent, servant, and

  employee of SCOTT J. ISRAEL, as SHERIFF of BROWARD COUNTY, Florida.

         8.      Defendant SCOTT J. ISRAEL, as SHERIFF of BROWARD COUNTY, Florida, is

  the Sheriff of BROWARD County, Florida (hereinafter Defendant SCOTT J. ISRAEL, as SHERIFF

  of BROWARD COUNTY, Florida, or Defendant BROWARD COUNTY SHERIFF’S OFFICE),

  as organized and existing under the Constitution and laws of the State of Florida. In this cause,

  Defendant BROWARD COUNTY SHERIFF’S OFFICE acted through its agents, employees, and

  servants, including ROBERT RIVERA, ANDREW CARDARELLI, and others.

         9.      Plaintiffs sue Defendant RIVERA and Defendant CARDARELLI in their individual

  capacities.
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                                                FACTS

         10.     On August 25, 2011, in State of Florida v. Todd Hicks, Case No. 11-13310CFCF10A,

  Broward County Circuit Court Judge Cynthia Imperato placed Todd Edward Hicks on eighteen (18)

  months probation.

         11.     On May 4, 2012, Circuit Court Judge Cynthia Imperato signed a warrant for the arrest

  of Todd Hicks for violation of probation, insofar as Hicks failed to make restitution payments and

  was arrested on February 26, 2012, for driving while license suspended.

         12.     At all times material hereto, Hicks was described as 5' 8" tall, and 135 lbs.

         13.     The address for Todd Hicks was listed in the arrest warrant as 1001 NW 45h Avenue,

  Coconut Creek, Florida, 33066.

         14.     At all times material hereto, the residence at 1001 NW 45th Avenue, Coconut Creek,

  Florida, 33066, was a single family structure owned by Michael and Twyla Murr, the parents of

  Plaintiff DAVID MURR and Plaintiff SARAH ELIZABETH MURR.

         15.     At all times material hereto, Plaintiff DAVID MURR was an engineering student at

  the University of Florida, in Gainsville, Florida.

         16.     At all times material hereto, Plaintiff SARAH ELIZABETH MURR was working at

  the medical school at the University of Miami, in Coral Gables, Florida, and was planning on

  attending medical school.

         17.     During the period of 2011-12, while Plaintiff SARAH ELIZABETH MURR was

  away at college, her bedroom was occupied by Nathan Hicks.

         18.     At all times material hereto, Plaintiff DAVID MURR, Plaintiff SARAH ELIZABETH

  MURR, and Todd Hicks, were cousins.

         19.     In 2012, Todd Hicks moved out of the residence owned by Michael and Twyla Murr.
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         20.     Todd Hicks subsequently failed to report for probation during the months of May,

  June, July, and August, 2012.

         21.     On August 29, 2012, an amended affidavit for violation of probation was filed

  alleging that Todd Hicks failed to report to his probation officer during the months of May, June,

  July, and August, and further alleging that Todd Hicks “did move from his last known residence at

  1001 NW 45th Avenue, Coconut, Creek, FL 33066, without the consent of the probation officer, as

  told to this officer on July 17, 2012, by the offender’s uncle, Mr. Mike Murr, and his current

  whereabouts is unknown.”

         22.     On August 30, 2012, Circuit Court Judge Cynthia Imperato signed an amended

  warrant for the arrest of Todd Hicks for violation of probation, adding the violations set forth in the

  amended affidavit.

         23.     The identifying data contained in the amended warrant for violation of probation was

  updated to “Current Location: Unknown.”

         24.     The amended warrant also indicated that Todd Hicks had no history of violence, no

  prior history of resisting arrest, and no prior use of a weapon.

         25.     Between May-December, 2012, several employees of Defendant SCOTT J. ISRAEL,

  as SHERIFF of BROWARD COUNTY, Florida, responded to 1001 NW 45th Avenue, Coconut,

  Creek, FL 33066, in an effort to arrest Todd Hicks for violation of probation, and were truthfully

  advised that Todd Hicks no longer resided at that address.

         26.     Based on information and belief, the Warrants Division at Defendant SCOTT J.

  ISRAEL, as SHERIFF of BROWARD COUNTY, Florida, failed to update the records provided to

  Defendant CARDARELLI and Defendant RIVERA, and others, such that the “packet” provided to

  Defendant CARDARELLI and Defendant RIVERA failed to unequivocally indicate that Todd Hicks
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  no longer lived at 1001 NW 45th Avenue, Coconut, Creek, Florida.

         27.     Based on information and belief, the Warrants Division at Defendant SCOTT J.

  ISRAEL, as SHERIFF of BROWARD COUNTY, Florida, failed to update the records provided to

  Defendant CARDARELLI and Defendant RIVERA, and others, such that the “packet” provided to

  Defendant CARDARELLI and Defendant RIVERA failed to unequivocally indicate the dates/times

  other deputies attempted to serve the arrest warrant on Todd Hicks at 1001 NW 45th Avenue,

  Coconut, Creek, Florida, but were informed that Todd Hicks no longer resided at that address.

         28.     On December 11, 2012, Defendant CARDARELLI and Defendant RIVERA

  responded to 1001 NW 45th Avenue, Coconut, Creek, Florida, in an effort to arrest Todd Hicks for

  violation of probation.

         29.     On December 11, 2012, Plaintiff DAVID MURR and Plaintiff SARAH ELIZABETH

  MURR were at their parent’s residence located in Coconut Creek, Broward County, Florida.

         30.     Defendant CARDARELLI positioned himself at the front door of the residence while

  Defendant RIVERA took a position at the rear of the residence.

         31.     At all times material hereto, neither Defendant CARDARELLI nor Defendant

  RIVERA had a search warrant for 1001 NW 45th Avenue, Coconut, Creek, Florida.

         32.     At the time of the enforcement action, Defendant CARDARELLI and Defendant

  RIVERA lacked a reasonable belief Todd Hicks lived at 1001 NW 45th Avenue, Coconut, Creek,

  Florida.

         33.     At the time of the enforcement action, Defendant CARDARELLI and Defendant

  RIVERA lacked a reasonable belief Todd Hicks was inside 1001 NW 45th Avenue, Coconut, Creek,

  Florida.

         34.     Defendant CARDARELLI made contact with Nathan Murr at the front door.
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         35.     On September 30, 2014, Defendant CARDARELLI testified that upon making contact

  with Nathan Murr at the front door, “I told him to step aside, we were going in. We don’t need a

  search warrant, we have an arrest warrant. . . .[W]e’re coming in to search your house.”

         36.     Defendant CARDARELLI and Defendant RIVERA thereupon entered 1001 NW 45th

  Avenue, Coconut, Creek, Florida, without a search warrant.

         37.     Both Defendant CARDARELLI and Defendant RIVERA traveled to 1001 NW 45th

  Avenue in an unmarked SUV, which they parked several houses down the block; they were wearing

  tactical gear instead of regular police uniforms.

         38.     Both Plaintiff DAVID MURR and Plaintiff SARAH ELIZABETH MURR became

  aware of voices inside the residence and walked towards the area of the front door, whereupon they

  were confronted by Defendant RIVERA.

         39.     Defendant RIVERA pointed a gun at DAVID MURR’s head and stated: “I’ll shoot

  you in the fucking head;” Plaintiff DAVID MURR was then held by Defendant RIVERA at

  gunpoint.

         40.     When Plaintiff SARAH ELIZABETH MURR arrived at the area where DAVID

  MURR was being held at gunpoint (wearing only a bath towel), Defendant RIVERA turned the gun

  on SARAH ELIZABETH MURR and stated: “Don’t fucking move or I’ll shoot;” Plaintiff SARAH

  ELIZABETH MURR complied.

         41.     Based on the way that Defendant RIVERA was holding his firearm, it was unclear

  whether Defendant RIVERA was a police officer.

         42.     Both Defendant CARDARELLI and Defendant RIVERA were also using numerous

  profanities and acting in an extremely aggressive and threatening manner.

         43.     Plaintiff DAVID MURR and Plaintiff SARAH ELIZABETH MURR could see their
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  brother Nathan Murr pinned against a wall by Defendant CARDARELLI.

         44.       Plaintiff SARAH ELIZABETH MURR thought it was a robbery.

         45.       Nathan Murr was subsequently Tasered, handcuffed, and removed from the residence

  by Defendant CARDARELLI and Defendant RIVERA.

         46.       No additional search was made for Todd Hicks inside the residence.

         47.       Plaintiff DAVID MURR called 911 in an effort to verify whether the persons who

  entered the residence were, in fact, police officers, and to determine whether they were acting

  appropriately.

         48.       The 911 operator instructed DAVID MURR to exit the residence and provide the tag

  number on the unmarked SUV.

         49.       While Plaintiff DAVID MURR was still on the phone with the 911 operator,

  Defendant CARDARELLI approached and angrily stated: “Where’s your ID? Where’s your ID?”

         50.       Plaintiff DAVID MURR explained that his identification was inside his house.

         51.       Plaintiff SARAH ELIZABETH MURR asked: “Do you want me to get his ID?”

  Defendant CARDARELLI answered, “ No.”

         52.       Defendant CARDARELLI then forced Plaintiff DAVID MURR to the ground and

  advised him he was under arrest for calling the police, stating: “What the fuck is wrong with you?”

         53.       Plaintiff DAVID MURR was arrested and transported to the Broward County Jail.

  No criminal charges were ever filed against Plaintiff DAVID MURR.

         54.       On July 28, 2015, Nathan Murr was acquitted on all charges resulting from his arrest

  on December 11, 2012.

         55.       The conduct of Defendant CARDARELLI and Defendant RIVERA occurred under

  color of state law.
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                                        CAUSES OF ACTION

                                 COUNT I
        DAVID MURR’S FOURTH AMENDMENT CLAIM AGAINST DEFENDANT
         CARDARELLI, INDIVIDUALLY, COGNIZABLE UNDER 42 U.S.C. § 1983
                              (unlawful search)

  For his cause of action against Defendant CARDARELLI, individually, in Count I, DAVID MURR

  states:

            56.   DAVID MURR realleges and adopts, as if fully set forth in Count I, the allegations

  of paragraphs 1 through 55.

            57.   Defendant CARDARELLI entered the residence of DAVID MURR in the absence

  of reasonable belief that Todd Hicks resided therein, and could be located therein.

            58.   The conduct of Defendant CARDARELLI, individually, was objectively unreasonable

  and violated DAVID MURR’s clearly established rights under the Fourth and Fourteenth

  Amendments of the United States Constitution and 42 U.S.C. § 1983 to be secure in his house,

  papers, and effects, against unreasonable search and seizure.

            59.   As a direct and proximate result of the acts described above, in violation of 42 U.S.C.

  § 1983, DAVID MURR has suffered grievously, has been brought into public scandal, and with great

  humiliation and mental suffering, including business reputation/goodwill.

            60.   As a further direct and proximate result of the conduct of Defendant CARDARELLI,

  DAVID MURR suffered loss of liberty and freedom, pain and suffering, mental anguish, and loss

  of capacity for the enjoyment of life. DAVID MURR’s losses are either permanent or continuing

  and DAVID MURR will suffer the losses in the future, in violation of DAVID MURR’s civil rights.

  DAVID MURR has also agreed to pay the undersigned a reasonable fee for his services, herein.

            WHEREFORE, DAVID MURR prays:
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         a.      Judgment for compensatory damages in excess of $ 15,000 dollars;

         b.      Judgment for exemplary damages;

         c.      Cost of suit;

         d.      Reasonable attorneys’ fees, pursuant to 42 U.S.C. § 1988;

         e.      Trial by jury as to all issues so triable; and

         f.      Such other relief as this Honorable Court may deem just and appropriate.

                                  COUNT II
        DAVID MURR’S FOURTH AMENDMENT CLAIM AGAINST DEFENDANT
           RIVERA, INDIVIDUALLY, COGNIZABLE UNDER 42 U.S.C. § 1983
                               (unlawful search)

  For his cause of action against Defendant RIVERA, in Count II, DAVID MURR states:

         61.     DAVID MURR realleges and adopts, as if fully set forth in Count II, the allegations

  of paragraphs 1 through 55.

         62.     Defendant RIVERA entered the curtilage and residence of DAVID MURR in the

  absence of reasonable belief that Todd Hicks resided therein, and could be located therein.

         63.     The conduct of Defendant RIVERA, individually, was objectively unreasonable and

  violated DAVID MURR’s clearly established rights under the Fourth and Fourteenth Amendments

  of the United States Constitution and 42 U.S.C. § 1983 to be secure in his house, papers, and effects,

  against unreasonable search and seizure.

         64.     As a direct and proximate result of the acts described above, in violation of 42 U.S.C.

  § 1983, DAVID MURR has suffered grievously, has been brought into public scandal, and with great

  humiliation and mental suffering, including business reputation/goodwill.

         65.     As a further direct and proximate result of the conduct of Defendant RIVERA,

  DAVID MURR suffered loss of liberty and freedom, pain and suffering, mental anguish, and loss
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  of capacity for the enjoyment of life. DAVID MURR’s losses are either permanent or continuing

  and DAVID MURR will suffer the losses in the future, in violation of DAVID MURR’s civil rights.

  DAVID MURR has also agreed to pay the undersigned a reasonable fee for his services, herein.

         WHEREFORE, DAVID MURR prays:

         a.      Judgment for compensatory damages in excess of $ 15,000 dollars;

         b.      Judgment for exemplary damages;

         c.      Cost of suit;

         d.      Reasonable attorneys’ fees, pursuant to 42 U.S.C. § 1988;

         e.      Trial by jury as to all issues so triable; and

         f.      Such other relief as this Honorable Court may deem just and appropriate.

                                COUNT III
        SARAH ELIZABETH MURR’S FOURTH AMENDMENT CLAIM AGAINST
                  DEFENDANT CARDARELLI, INDIVIDUALLY,
                     COGNIZABLE UNDER 42 U.S.C. § 1983
                             (unlawful search)

  For her cause of action against Defendant CARDARELLI, individually, in Count III, SARAH

  ELIZABETH MURR states:

         66.     SARAH ELIZABETH MURR realleges and adopts, as if fully set forth in Count III,

  the allegations of paragraphs 1 through 55.

         67.     Defendant CARDARELLI entered the residence of SARAH ELIZABETH MURR

  in the absence of reasonable belief that Todd Hicks resided therein, and could be located therein.

         68.     The conduct of Defendant CARDARELLI, individually, was objectively unreasonable

  and violated SARAH ELIZABETH MURR’s clearly established rights under the Fourth and

  Fourteenth Amendments of the United States Constitution and 42 U.S.C. § 1983 to be secure in his

  house, papers, and effects, against unreasonable search and seizure.
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            69.   As a direct and proximate result of the acts described above, in violation of 42 U.S.C.

  § 1983, SARAH ELIZABETH MURR has suffered grievously, has been brought into public scandal,

  and with great humiliation and mental suffering.

            70.   As a further direct and proximate result of the conduct of Defendant CARDARELLI,

  SARAH ELIZABETH MURR suffered loss of liberty and freedom, pain and suffering, mental

  anguish, and loss of capacity for the enjoyment of life. SARAH ELIZABETH MURR’s losses are

  either permanent or continuing and SARAH ELIZABETH MURR will suffer the losses in the future,

  in violation of SARAH ELIZABETH MURR’s civil rights. SARAH ELIZABETH MURR has also

  agreed to pay the undersigned a reasonable fee for his services, herein.

            WHEREFORE, SARAH ELIZABETH MURR prays:

            a.    Judgment for compensatory damages in excess of $ 15,000 dollars;

            b.    Judgment for exemplary damages;

            c.    Cost of suit;

            d.    Reasonable attorneys’ fees, pursuant to 42 U.S.C. § 1988;

            e.    Trial by jury as to all issues so triable; and

            f.    Such other relief as this Honorable Court may deem just and appropriate.

                                COUNT IV
       SARAH ELIZABETH MURR’S FOURTH AMENDMENT CLAIM AGAINST
     DEFENDANT RIVERA, INDIVIDUALLY, COGNIZABLE UNDER 42 U.S.C. § 1983
                              (unlawful search)

  For her cause of action against Defendant RIVERA, in Count IV, SARAH ELIZABETH MURR

  states:

            71.   SARAH ELIZABETH MURR realleges and adopts, as if fully set forth in Count IV,

  the allegations of paragraphs 1 through 55.
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         72.     Defendant RIVERA entered the curtilage and residence of SARAH ELIZABETH

  MURR in the absence of reasonable belief that Todd Hicks resided therein, and could be located

  therein.

         73.     The conduct of Defendant RIVERA, individually, was objectively unreasonable and

  violated SARAH ELIZABETH MURR’s clearly established rights under the Fourth and Fourteenth

  Amendments of the United States Constitution and 42 U.S.C. § 1983 to be secure in his house,

  papers, and effects, against unreasonable search and seizure.

         74.     As a direct and proximate result of the acts described above, in violation of 42 U.S.C.

  § 1983, SARAH ELIZABETH MURR has suffered grievously, has been brought into public scandal,

  and with great humiliation and mental suffering.

         75.     As a further direct and proximate result of the conduct of Defendant RIVERA,

  SARAH ELIZABETH MURR suffered loss of liberty and freedom, pain and suffering, mental

  anguish, and loss of capacity for the enjoyment of life. SARAH ELIZABETH MURR’s losses are

  either permanent or continuing and SARAH ELIZABETH MURR will suffer the losses in the future,

  in violation of SARAH ELIZABETH MURR’s civil rights. SARAH ELIZABETH MURR has also

  agreed to pay the undersigned a reasonable fee for his services, herein.

         WHEREFORE, SARAH ELIZABETH MURR prays:

         a.      Judgment for compensatory damages in excess of $ 15,000 dollars;

         b.      Judgment for exemplary damages;

         c.      Cost of suit;

         d.      Reasonable attorneys’ fees, pursuant to 42 U.S.C. § 1988;

         e.      Trial by jury as to all issues so triable; and

         f.      Such other relief as this Honorable Court may deem just and appropriate.
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                                 COUNT V
  DAVID MURR’S CUSTOM, POLICY, AND PRACTICE CLAIM AGAINST DEFENDANT
        SCOTT J. ISRAEL, AS SHERIFF OF BROWARD COUNTY, FLORIDA,
                     COGNIZABLE UNDER 42 U.S.C. § 1983

  For his cause of action against Defendant SCOTT J. ISRAEL, as SHERIFF of BROWARD

  COUNTY, FLORIDA, in Count V, DAVID MURR states:

         76.     DAVID MURR realleges and adopts, as if fully set forth in Count V, the allegations

  of paragraphs 1 through 55.

         77.     At all times material hereto, Defendant CARDARELLI and Defendant RIVERA were

  acting under the direction and control of Defendant SCOTT J. ISRAEL, as SHERIFF of BROWARD

  COUNTY, Florida, and pursuant to the customs, policies, and practices of Defendant SCOTT J.

  ISRAEL, as SHERIFF of BROWARD COUNTY, Florida.

         78.     On August 30, 2012, Circuit Court Judge Cynthia Imperato signed an amended

  warrant for the arrest of Todd Hicks for violation of probation, adding the violations set forth in the

  amended affidavit.

         79.     The identifying data contained in the amended warrant for violation of probation was

  updated to “Current Location: Unknown.”

         80.     The amended warrant also indicated that Todd Hicks had no history of violence, no

  prior history of resisting arrest, and no prior use of a weapon.

         81.     Between May-December, 2012, several employees of Defendant SCOTT J. ISRAEL,

  as SHERIFF of BROWARD COUNTY, Florida, responded to 1001 NW 45th Avenue, Coconut,

  Creek, FL 33066, in an effort to arrest Todd Hicks for violation of probation, and were truthfully

  advised that Todd Hicks no longer resided at that address.

         82.     Based on information and belief, the Warrants Division at Defendant SCOTT J.
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  ISRAEL, as SHERIFF of BROWARD COUNTY, Florida, failed to update the records provided to

  Defendant CARDARELLI and Defendant RIVERA, and others, such that the “packet” provided to

  Defendant CARDARELLI and Defendant RIVERA failed to unequivocally indicate that Todd Hicks

  no longer lived at 1001 NW 45th Avenue, Coconut, Creek, Florida.

          83.     Based on information and belief, the Warrants Division at Defendant BROWARD

  SHERIFF’S OFFICE failed to update the records provided to Defendant CARDARELLI, Defendant

  RIVERA, and others, and such failures were widespread, pervasive, and customary, such that the

  “packet” provided to Defendant CARDARELLI and Defendant RIVERA, and others, failed to

  unequivocally state when a past known address was no longer valid.

          84.     Based on information and belief, the Warrants Division at Defendant BROWARD

  SHERIFF’S OFFICE failed to update the records provided to Defendant CARDARELLI and

  Defendant RIVERA, and others, such that the “packet” provided to Defendant CARDARELLI and

  Defendant RIVERA failed to unequivocally indicate the dates/times other deputies attempted to

  serve arrest warrants on fugitives such as Todd Hicks, and others, but were informed that actual

  wanted person no longer resided at that address.

          85.     Based on information and belief, at all times material hereto, the written customs,

  policies, and practices of Defendant BROWARD COUNTY SHERIFF’S OFFICE failed to direct

  that a search warrant is required in addition to an arrest warrant unless there is a reasonable basis to

  believe that the actual wanted person resides at the residence and may be located therein.

          86.     Based on information and belief, at all times material hereto, the written customs,

  policies, and practices of Defendant BROWARD COUNTY SHERIFF’S OFFICE failed to direct

  that information indicating a person does not reside at a particular residence is insufficient to conduct

  a warrantless search of the residence, even in the person who is the subject of the warrant may be
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  located therein.

          87.     The failures of Defendant SCOTT J. ISRAEL, as SHERIFF OF BROWARD

  COUNTY, Florida, as set forth herein, constitutes deliberate indifference to the rights of Plaintiff

  DAVID MURR, Plaintiff SARAH ELIZABETH MURR, and others, under the Fourth and

  Fourteenth Amendment.

          88.     Defendant SCOTT J. ISRAEL, as SHERIFF OF BROWARD COUNTY, knew or

  should have known that the failures set forth herein would result in the deprivation of constitutional

  rights of Plaintiff DAVID MURR, Plaintiff SARAH ELIZABETH MURR, and others similarly

  situated, and that with appropriate policies, training, and supervision, the conduct complained of

  would have been prevented, in violation of Plaintiff’s federally protected rights under the Fourth and

  Fourteenth, and 42 U.S.C. § 1983.

          89.     As a direct and proximate result of the acts described above, in violation of 42 U.S.C.

  § 1983, DAVID MURR has suffered grievously, has been brought into public scandal, and with great

  humiliation and mental suffering, including business reputation/goodwill.

          90.     As a further direct and proximate result of the conduct of Defendant BROWARD

  SHERIFF’S OFFICE, DAVID MURR suffered loss of liberty and freedom, pain and suffering,

  mental anguish, and loss of capacity for the enjoyment of life. DAVID MURR’s losses are either

  permanent or continuing and DAVID MURR will suffer the losses in the future, in violation of

  DAVID MURR’s civil rights. DAVID MURR has also agreed to pay the undersigned a reasonable

  fee for his services, herein.

          WHEREFORE, DAVID MURR prays:

          a.      Judgment for compensatory damages in excess of $ 15,000 dollars;

          b.      Cost of suit;
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         c.      Reasonable attorneys’ fees, pursuant to 42 U.S.C. § 1988;

         d.      Trial by jury as to all issues so triable; and

         e.      Such other relief as this Honorable Court may deem just and appropriate.

                               COUNT VI
       SARAH ELIZABETH MURR’S CUSTOM, POLICY, AND PRACTICE CLAIM
        AGAINST DEFENDANT SCOTT J. ISRAEL, AS SHERIFF OF BROWARD
            COUNTY, FLORIDA, COGNIZABLE UNDER 42 U.S.C. § 1983

  For her cause of action against Defendant SCOTT J. ISRAEL, as SHERIFF of BROWARD

  COUNTY, FLORIDA, in Count VI, SARAH ELIZABETH MURR states:

         91.     SARAH ELIZABETH MURR realleges and adopts, as if fully set forth in Count VI,

  the allegations of paragraphs 1 through 55.

         92.     At all times material hereto, Defendant CARDARELLI and Defendant RIVERA were

  acting under the direction and control of Defendant SCOTT J. ISRAEL, as SHERIFF of BROWARD

  COUNTY, Florida, and pursuant to the customs, policies, and practices of Defendant SCOTT J.

  ISRAEL, as SHERIFF of BROWARD COUNTY, Florida.

         93.     On August 30, 2012, Circuit Court Judge Cynthia Imperato signed an amended

  warrant for the arrest of Todd Hicks for violation of probation, adding the violations set forth in the

  amended affidavit.

         94.     The identifying data contained in the amended warrant for violation of probation was

  updated to “Current Location: Unknown.”

         95.     The amended warrant also indicated that Todd Hicks had no history of violence, no

  prior history of resisting arrest, and no prior use of a weapon.

         96.     Between May-December, 2012, several employees of Defendant SCOTT J. ISRAEL,

  as SHERIFF of BROWARD COUNTY, Florida, responded to 1001 NW 45th Avenue, Coconut,
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  Creek, FL 33066, in an effort to arrest Todd Hicks for violation of probation, and were truthfully

  advised that Todd Hicks no longer resided at that address.

          97.     Based on information and belief, the Warrants Division at Defendant SCOTT J.

  ISRAEL, as SHERIFF of BROWARD COUNTY, Florida, failed to update the records provided to

  Defendant CARDARELLI and Defendant RIVERA, and others, such that the “packet” provided to

  Defendant CARDARELLI and Defendant RIVERA failed to unequivocally indicate that Todd Hicks

  no longer lived at 1001 NW 45th Avenue, Coconut, Creek, Florida.

          98.     Based on information and belief, the Warrants Division at Defendant BROWARD

  SHERIFF’S OFFICE failed to update the records provided to Defendant CARDARELLI, Defendant

  RIVERA, and others, and such failures were widespread, pervasive, and customary, such that the

  “packet” provided to Defendant CARDARELLI and Defendant RIVERA, and others, failed to

  unequivocally state when a past known address was no longer valid.

          99.     Based on information and belief, the Warrants Division at Defendant BROWARD

  SHERIFF’S OFFICE failed to update the records provided to Defendant CARDARELLI and

  Defendant RIVERA, and others, such that the “packet” provided to Defendant CARDARELLI and

  Defendant RIVERA failed to unequivocally indicate the dates/times other deputies attempted to

  serve arrest warrants on fugitives such as Todd Hicks, and others, but were informed that actual

  wanted person no longer resided at that address.

          100.    Based on information and belief, at all times material hereto, the written customs,

  policies, and practices of Defendant BROWARD COUNTY SHERIFF’S OFFICE failed to direct

  that a search warrant is required in addition to an arrest warrant unless there is a reasonable basis to

  believe that the actual wanted person resides at the residence and may be located therein.

          101.    Based on information and belief, at all times material hereto, the written customs,
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  policies, and practices of Defendant BROWARD COUNTY SHERIFF’S OFFICE failed to direct

  that information indicating a person does not reside at a particular residence is insufficient to conduct

  a warrantless search of the residence, even in the person who is the subject of the warrant may be

  located therein.

          102.    The failures of Defendant SCOTT J. ISRAEL, as SHERIFF OF BROWARD

  COUNTY, Florida, as set forth herein, constitutes deliberate indifference to the rights of Plaintiff

  DAVID MURR, Plaintiff SARAH ELIZABETH MURR, and others, under the Fourth and

  Fourteenth Amendment.

          103.    Defendant SCOTT J. ISRAEL, as SHERIFF OF BROWARD COUNTY, knew or

  should have known that the failures set forth herein would result in the deprivation of constitutional

  rights of Plaintiff DAVID MURR, Plaintiff SARAH ELIZABETH MURR, and others similarly

  situated, and that with appropriate policies, training, and supervision, the conduct complained of

  would have been prevented, in violation of Plaintiff’s federally protected rights under the Fourth and

  Fourteenth, and 42 U.S.C. § 1983.

          104.    As a direct and proximate result of the acts described above, in violation of 42 U.S.C.

  § 1983, SARAH ELIZABETH MURR has suffered grievously, has been brought into public scandal,

  and with great humiliation and mental suffering.

          105.    As a further direct and proximate result of the conduct of Defendant BROWARD

  SHERIFF’S OFFICE, SARAH ELIZABETH MURR suffered loss of liberty and freedom, pain and

  suffering, mental anguish, and loss of capacity for the enjoyment of life. SARAH ELIZABETH

  MURR’s losses are either permanent or continuing and SARAH ELIZABETH MURR will suffer

  the losses in the future, in violation of SARAH ELIZABETH MURR’s civil rights. SARAH

  ELIZABETH MURR has also agreed to pay the undersigned a reasonable fee for his services, herein.
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            WHEREFORE, SARAH ELIZABETH MURR prays:

            a.     Judgment for compensatory damages in excess of $ 15,000 dollars;

            b.     Cost of suit;

            c.     Reasonable attorneys’ fees, pursuant to 42 U.S.C. § 1988;

            d.     Trial by jury as to all issues so triable; and

            e.     Such other relief as this Honorable Court may deem just and appropriate.

                               COUNT VII
   DAVID MURR’S FOURTH AMENDMENT CLAIM AGAINST DEFENDANT RIVERA
            INDIVIDUALLY, COGNIZABLE UNDER 42 U.S.C. § 1983
                           (temporary detention)

  For his cause of action against Defendant RIVERA, individually, in Count VII, DAVID MURR

  states:

            106.   DAVID MURR realleges and adopts, as if fully set forth in Count VII, the allegations

  of paragraphs 1 through 55.

            107.   Defendant RIVERA subjected DAVID MURR to temporary detention in the absence

  of reasonable suspicion that DAVID MURR had committed, was committing, or was about to

  commit any criminal offense.

            108.   The conduct of Defendant RIVERA towards DAVID MURR was objectively

  unreasonable, in violation of DAVID MURR’s clearly established rights under the Fourth and

  Fourteenth Amendments and 42 U.S.C. § 1983 to be free from temporary detention in the absence

  of reasonable suspicion that DAVID MURR committed any criminal offense.

            109.   As a direct and proximate result of the acts described above, in violation of 42 U.S.C.

  § 1983, DAVID MURR has suffered grievously, has been brought into public scandal, and with great

  humiliation, mental suffering, and damaged reputation, including business reputation/goodwill.

            110.   As a further direct and proximate result of the conduct of Defendant RIVERA,
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  DAVID MURR suffered loss of liberty and freedom, pain and suffering, mental anguish, and loss

  of capacity for the enjoyment of life. DAVID MURR’s losses are either permanent or continuing

  and DAVID MURR will suffer the losses in the future, in violation of DAVID MURR’s civil rights.

  DAVID MURR has also agreed to pay the undersigned a reasonable fee for his services, herein.

         WHEREFORE, DAVID MURR prays:

         a.      Judgment for compensatory damages in excess of $ 15,000 dollars;

         b.      Judgment for exemplary damages;

         c.      Cost of suit;

         d.      Reasonable attorneys’ fees, pursuant to 42 U.S.C. § 1988;

         e.      Trial by jury as to all issues so triable; and

         f.      Such other relief as this Honorable Court may deem just and appropriate.

                                COUNT VIII
       SARAH ELIZABETH MURR’S FOURTH AMENDMENT CLAIM AGAINST
     DEFENDANT RIVERA INDIVIDUALLY, COGNIZABLE UNDER 42 U.S.C. § 1983
                            (temporary detention)

  For her cause of action against Defendant RIVERA, individually, in Count VIII, SARAH

  ELIZABETH MURR states:

         111.    SARAH ELIZABETH MURR realleges and adopts, as if fully set forth in Count VIII,

  the allegations of paragraphs 1 through 55.

         112.    Defendant RIVERA subjected SARAH ELIZABETH MURR to temporary detention

  in the absence of reasonable suspicion that SARAH ELIZABETH MURR had committed, was

  committing, or was about to commit any criminal offense.

         113.    The conduct of Defendant RIVERA towards SARAH ELIZABETH MURR was

  objectively unreasonable, in violation of SARAH ELIZABETH MURR’s clearly established rights

  under the Fourth and Fourteenth Amendments and 42 U.S.C. § 1983 to be free from temporary
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  detention in the absence of reasonable suspicion that SARAH ELIZABETH MURR committed any

  criminal offense.

            114.   As a direct and proximate result of the acts described above, in violation of 42 U.S.C.

  § 1983, SARAH ELIZABETH MURR has suffered grievously, has been brought into public scandal,

  and with great humiliation, mental suffering, and damaged reputation.

            115.   As a further direct and proximate result of the conduct of Defendant RIVERA,

  SARAH ELIZABETH MURR suffered loss of liberty and freedom, pain and suffering, mental

  anguish, and loss of capacity for the enjoyment of life. SARAH ELIZABETH MURR’s losses are

  either permanent or continuing and SARAH ELIZABETH MURR will suffer the losses in the future,

  in violation of SARAH ELIZABETH MURR’s civil rights. SARAH ELIZABETH MURR has also

  agreed to pay the undersigned a reasonable fee for his services, herein.

            WHEREFORE, SARAH ELIZABETH MURR prays:

            a.     Judgment for compensatory damages in excess of $ 15,000 dollars;

            b.     Judgment for exemplary damages;

            c.     Cost of suit;

            d.     Reasonable attorneys’ fees, pursuant to 42 U.S.C. § 1988;

            e.     Trial by jury as to all issues so triable; and

            f.     Such other relief as this Honorable Court may deem just and appropriate.

                               COUNT IX
      DAVID MURR’S FIRST AMENDMENT FREE SPEECH RETALIATION CLAIM
             AGAINST DEFENDANT CARDARELLI, INDIVIDUALLY,
                     COGNIZABLE UNDER 42 U.S.C. § 1983

  For his cause of action against Defendant CARDARELLI, individually, in Count IX, DAVID MURR

  states:

            116.   DAVID MURR realleges and adopts, as if fully set forth in Count IX, the allegations
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  of paragraphs 1 through 55.

         117.    DAVID MURR’s arrest by Defendant CARDARELLI was in retaliation for DAVID

  MURR’s protected speech under the First Amendment.

         118.    The arrest of DAVID MURR by Defendant CARDARELLI occurred in the absence

  of probable cause that DAVID MURR committed any criminal offense, and under circumstances

  likely to deter a person of ordinary firmness from the exercise of First Amendment rights. The

  conduct of Defendant CARDARELLI towards DAVID MURR constitutes unlawful retaliation in

  violation of DAVID MURR’s clearly established rights under the First and Fourteenth Amendments,

  and 42 U.S.C. § 1983.

         119.    As a direct and proximate result of the acts described above, in violation of 42 U.S.C.

  § 1983, DAVID MURR has suffered grievously, has been brought into public scandal, and with great

  humiliation, mental suffering, and damaged reputation, including business reputation/goodwill.

         120.    As a further direct and proximate result of the conduct of Defendant CARDARELLI,

  DAVID MURR suffered loss of liberty and freedom, mental anguish, and loss of capacity for the

  enjoyment of life. The losses are either permanent or continuing and DAVID MURR will suffer the

  losses in the future, in violation of DAVID MURR’s civil rights. DAVID MURR has also agreed

  to pay the undersigned a reasonable fee for his services herein.

         WHEREFORE, DAVID MURR prays:

                 i.       Judgment for compensatory damages in excess of $ 15,000 dollars;

                 ii.      Judgment for exemplary damages;

                 iii.     Cost of suit;

                 iv.      Reasonable attorney’s fees, pursuant to 42 U.S.C. § 1988;

                 v.       Trial by jury as to all issues so triable; and
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                 vi.     Such other relief as this Honorable Court may deem just and appropriate.

                                  COUNT X
            DAVID MURR’S FALSE ARREST/FALSE IMPRISONMENT CLAIM
            AGAINST DEFENDANT BROWARD COUNTY SHERIFF’S OFFICE

  For his cause of action against Defendant BROWARD COUNTY SHERIFF’S OFFICE in Count

  X, DAVID MURR states:

         121.    DAVID MURR realleges and adopts, as if fully set forth in Count X, the allegations

  of paragraphs 1 through 55.

         122.    Defendant CARDARELLI proximately caused DAVID MURR’s arrest in the absence

  of probable cause that DAVID MURR committed any criminal offense. The actions of Defendant

  CARDARELLI, in causing the arrest of DAVID MURR in the absence of probable cause, were taken

  in the absence of lawful authority.

         123.    The actions of Defendant CARDARELLI constitute false arrest/false imprisonment

  of DAVID MURR under Florida law.

         124.    The false arrest/false imprisonment of DAVID MURR was committed by Defendant

  CARDARELLI in the course and scope of his employment as a deputy sheriff for Defendant

  BROWARD COUNTY SHERIFF’S OFFICE.

         125.    As a direct and proximate result of the acts described above, DAVID MURR has

  suffered grievously, has been brought into public scandal, and with great humiliation, mental

  suffering, and damaged reputation, including business reputation/goodwill.

         126.    As a further direct and proximate result of the conduct of Defendant BROWARD

  COUNTY SHERIFF’S OFFICE, DAVID MURR suffered loss of liberty and freedom, pain and

  suffering, mental anguish, and loss of capacity for the enjoyment of life. DAVID MURR’s losses

  are either permanent or continuing and DAVID MURR will suffer the losses in the future, in
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  violation of DAVID MURR’s rights.

         WHEREFORE, DAVID MURR prays:

         a.      Judgment for compensatory damages in excess of $ 15,000 dollars;

         b.      Cost of suit;

         c.      Trial by jury as to all issues so triable; and

         d.      Such other relief as this Honorable Court may deem just and appropriate.

                                   COUNT XI
              DAVID MURR’S FALSE ARREST/FALSE IMPRISONMENT CLAIM
                 AGAINST DEFENDANT CARDARELLI , INDIVIDUALLY

  For his cause of action against Defendant CARDARELLI, individually, in Count XI , DAVID

  MURR states:

         127.    DAVID MURR realleges and adopts, as if fully set forth in Count XI the allegations

  of paragraphs 1 through 55.

         128.    Defendant CARDARELLI proximately caused DAVID MURR’s arrest in the absence

  of probable cause that DAVID MURR committed any criminal offense.

         129.    The conduct of Defendant CARDARELLI, in causing the arrest of DAVID MURR

  in the absence of probable cause, was taken in the absence of lawful authority. The conduct of

  Defendant CARDARELLI constitutes false arrest/false imprisonment of DAVID MURR under

  Florida law.

         130.    Alternatively to the allegations set forth in Count X, if the false arrest/false

  imprisonment of DAVID MURR by Defendant CARDARELLI was committed outside the course

  and scope of Defendant CARDARELLI’s employment, or in bad faith or with malicious purpose or

  in a manner exhibiting wanton and willful disregard of human rights, safety, or property, the conduct

  of Defendant CARDARELLI occurred in his individual capacity.
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         131.    As a direct and proximate result of the acts described above, DAVID MURR has

  suffered grievously and has been brought into public scandal, with great humiliation, mental

  suffering and damaged reputation, including business reputation/goodwill.

         132.    As a further direct and proximate result of the conduct of Defendant CARDARELLI,

  DAVID MURR suffered loss of his liberty and freedom, mental anguish, and loss of capacity for the

  enjoyment of life. DAVID MURR’s losses are either permanent or continuing and DAVID MURR

  will suffer the losses in the future, in violation of DAVID MURR’s rights.

         WHEREFORE, DAVID MURR prays:

                 i.     Judgment for compensatory damages in excess of $ 15,000 dollars;

                 ii.    Judgment for exemplary damages;

                 iii.   Cost of suit;

                 iv.    Trial by jury as to all issues so triable; and

                 v.     Such other relief as this Honorable Court may deem just and appropriate.

                                 COUNT XII
                  DAVID MURR’S INVASION OF PRIVACY CLAIM
            AGAINST DEFENDANT BROWARD COUNTY SHERIFF’S OFFICE

  For his cause of action against Defendant BROWARD COUNTY SHERIFF’S OFFICE, in Count

  XII, DAVID MURR states:

         133.    DAVID MURR realleges and adopts, as if fully set forth in Count XII, the allegations

  of paragraphs 1 through 55.

         134.    Defendant CARDARELLI and Defendant RIVERA entered the curtilage and

  residence of DAVID MURR in the absence of reasonable belief that Todd Hicks resided therein, and

  could be located therein.

         135.    While inside the residence of DAVID MURR, a loaded firearm was pointed directly
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  at DAVID MURR and SARAH ELIZABETH MURR, lethal force was threatened, and DAVID

  MURR was subjected to the repeated and gratuitous use of vulgar and offensive language.

         136.    The conduct of Defendant CARDARELLI and Defendant RIVERA was objectively

  unreasonable, and caused DAVID MURR outrage, mental suffering, shame, and humiliation, and

  was undertaken in such a manner as to cause outrage, or mental suffering, shame, or humiliation, to

  a person of ordinary sensibilities.

         137.    The conduct set forth herein constitutes an invasion upon DAVID MURR’s physical

  solitude or seclusion, and constitutes invasion of privacy.

         138.    The invasion of privacy proximately caused by Defendant CARDARELLI and

  Defendant RIVERA against DAVID MURR was committed by Defendant CARDARELLI and

  Defendant RIVERA in the course and scope of their employment as deputy sheriffs for Defendant

  BROWARD COUNTY SHERIFF’S OFFICE.

         139.    As a direct and proximate result of the acts described above, DAVID MURR has

  suffered grievously, has been brought into public scandal, and with great humiliation, mental

  suffering, and damaged reputation, including business reputation/goodwill.

         140.    As a further direct and proximate result of the conduct of Defendant BROWARD

  COUNTY SHERIFF’S OFFICE, DAVID MURR suffered loss of liberty and freedom, pain and

  suffering, mental anguish, and loss of capacity for the enjoyment of life. DAVID MURR’s losses

  are either permanent or continuing and DAVID MURR will suffer the losses in the future, in

  violation of DAVID MURR’s rights.

         WHEREFORE, DAVID MURR prays:

         a.      Judgment for compensatory damages in excess of $ 15,000 dollars;

         b.      Cost of suit;
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         c.      Trial by jury as to all issues so triable; and

         d.      Such other relief as this Honorable Court may deem just and appropriate.

                                  COUNT XIII
               SARAH ELIZABETH MURR’S INVASION OF PRIVACY CLAIM
              AGAINST DEFENDANT BROWARD COUNTY SHERIFF’S OFFICE

  For her cause of action against Defendant BROWARD COUNTY SHERIFF’S OFFICE, in Count

  XIII, SARAH ELIZABETH MURR states:

         141.    SARAH ELIZABETH MURR realleges and adopts, as if fully set forth in Count XIII,

  the allegations of paragraphs 1 through 55.

         142.    Defendant CARDARELLI and Defendant RIVERA entered the curtilage and

  residence of SARAH ELIZABETH MURR in the absence of reasonable belief that Todd Hicks

  resided therein, and could be located therein.

         143.    While inside the residence of SARAH ELIZABETH MURR, a loaded firearm was

  pointed directly at DAVID MURR and SARAH ELIZABETH MURR, lethal force was threatened,

  and SARAH ELIZABETH MURR was subjected to the repeated and gratuitous use of vulgar and

  offensive language.

         144.    The conduct of Defendant CARDARELLI and Defendant RIVERA was objectively

  unreasonable, and caused DAVID MURR outrage, mental suffering, shame, and humiliation, and

  was undertaken in such a manner as to cause outrage, or mental suffering, shame, or humiliation, to

  a person of ordinary sensibilities.

         145.    The conduct set forth herein constitutes an invasion upon SARAH ELIZABETH

  MURR’s physical solitude or seclusion, and constitutes invasion of privacy.

         146.    The invasion of privacy proximately caused by Defendant CARDARELLI and

  Defendant RIVERA against SARAH ELIZABETH MURR was committed by Defendant
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  CARDARELLI and Defendant RIVERA in the course and scope of their employment as deputy

  sheriffs for Defendant BROWARD COUNTY SHERIFF’S OFFICE.

          147.    As a direct and proximate result of the acts described above, SARAH ELIZABETH

  MURR has suffered grievously, has been brought into public scandal, and with great humiliation,

  mental suffering, and damaged reputation.

          148.    As a further direct and proximate result of the conduct of Defendant BROWARD

  COUNTY SHERIFF’S OFFICE, SARAH ELIZABETH MURR suffered loss of liberty and freedom,

  pain and suffering, mental anguish, and loss of capacity for the enjoyment of life. SARAH

  ELIZABETH MURR’s losses are either permanent or continuing and SARAH ELIZABETH MURR

  will suffer the losses in the future, in violation of SARAH ELIZABETH MURR’s rights.

          WHEREFORE, SARAH ELIZABETH MURR prays:

          a.      Judgment for compensatory damages in excess of $ 15,000 dollars;

          b.      Cost of suit;

          c.      Trial by jury as to all issues so triable; and

          d.      Such other relief as this Honorable Court may deem just and appropriate.

                                    DEMAND FOR JURY TRIAL

          149.    DAVID MURR and SARAH ELIZABETH MURR demand trial by jury on all issues

  so triable as of right.

          DATED this        9th   day of December, 2016.
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